Case 1:25-cv-00128-JJM-AEM         Document 65      Filed 05/27/25   Page 1 of 33 PageID #:
                                          1536



                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

  STATE OF RHODE ISLAND; STATE OF
  NEW YORK; STATE OF HAWAI‘I; STATE
  OF ARIZONA; STATE OF CALIFORNIA;
  STATE OF COLORADO; STATE OF
  CONNECTICUT; STATE OF DELAWARE;
  STATE OF ILLINOIS; STATE OF MAINE;                     Case No.: 1:25-cv-128
  STATE OF MARYLAND;
  COMMONWEALTH OF MASSACHUSETTS;
  PEOPLE OF THE STATE OF MICHIGAN;
  STATE OF MINNESOTA; STATE OF
  NEVADA; STATE OF NEW JERSEY; STATE
  OF NEW MEXICO; STATE OF OREGON;
  STATE OF VERMONT; STATE OF
  WASHINGTON; STATE OF WISCONSIN;

        Plaintiffs,

        v.

  DONALD J. TRUMP, in his official capacity as
  President of the United States; INSTITUTE OF
  MUSEUM AND LIBRARY SERVICES;
  KEITH E. SONDERLING, in his official
  capacity as Acting Director of the Institute of
  Museum and Library Services; MINORITY
  BUSINESS AND DEVELOPMENT AGENCY;
  MADIHA D. LATIF, in her official capacity as
  Deputy Under Secretary of Commerce for
  Minority Business Development; HOWARD
  LUTNICK, in his official capacity as Secretary
  of Commerce; FEDERAL MEDIATION AND
  CONCILIATION SERVICE; GREGORY
  GOLDSTEIN, in his official capacity as Acting
  Director of the Federal Mediation and
  Conciliation Service; OFFICE OF
  MANAGEMENT AND BUDGET; RUSSELL
  T. VOUGHT, in his official capacity as Director
  of the Office of Management and Budget;

        Defendants.

   MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’ MOTION FOR A
                     STAY PENDING APPEAL
Case 1:25-cv-00128-JJM-AEM                     Document 65             Filed 05/27/25           Page 2 of 33 PageID #:
                                                      1537




                                              TABLE OF CONTENTS

                                                                                                                         Page

 INTRODUCTION ............................................................................................................. 1

 BACKGROUND ............................................................................................................... 2

 ARGUMENT .................................................................................................................... 5

     DEFENDANTS ARE NOT ENTITLED TO A STAY PENDING APPEAL .......................................... 5

          A.      Defendants Have Not Made a Strong Showing
                  That They Will Succeed on the Merits. ............................................................. 5

                  1.      Defendants’ Arguments About the Scope of the Preliminary
                          Injunction Are Both Waived and Meritless. .............................................. 6

                  2.      Defendants’ Arguments About This Court’s Jurisdiction Are Meritless.............. 9

          B.      Defendants Have Not Shown Irreparable Injury. .............................................. 12

          C.      The Remaining Factors Weigh Against a Stay. ................................................ 15

 CONCLUSION ............................................................................................................... 16
Case 1:25-cv-00128-JJM-AEM            Document 65         Filed 05/27/25      Page 3 of 33 PageID #:
                                             1538



                                         INTRODUCTION

        Defendants are not entitled to the “extraordinary remedy,” Nken v. Holder, 556 U.S. 418,

 428 (2009), of a stay pending appeal. As this Court held in granting plaintiffs’ motion for a

 preliminary injunction, plaintiffs demonstrated a strong likelihood of success on their claims that

 defendants violated the Administrative Procedure Act (APA) and the Constitution by taking

 sweeping actions to implement an executive order that gutted three federal agencies established

 by Congress. 1 In addition, this Court carefully considered input from all parties in crafting the text

 of the preliminary injunction order, which is specifically tailored to undo defendants’ unlawful

 actions and to prevent defendants from attempting to unlawfully implement the executive order

 and dismantle the agencies again during the pendency of this case.

        Defendants’ six-page stay motion fails to demonstrate any of the factors warranting a stay

 pending appeal under binding precedent. First, defendants offer no argument that they are likely

 to succeed on the merits of an appeal from the entire order. Instead, defendants challenge the

 language of the preliminary injunction order with respect to personnel and programming and argue

 that the Court lacked jurisdiction over plaintiffs’ claims insofar as they relate to grants, repeating

 the theory that the attempted gutting of the three agencies amounts to a contract dispute.




        1
            Plaintiffs are the States of Arizona, California, Colorado, Connecticut, Delaware,
 Hawai‘i, Illinois, Maine, Maryland, Massachusetts, the People of the State of Michigan,
 Minnesota, Nevada, New Jersey, New Mexico, New York, Oregon, Rhode Island, Vermont,
 Washington, and Wisconsin. Defendants are the Institute of Museum and Library Services (IMLS),
 the Minority Business and Development Agency (MBDA), the Federal Mediation and Conciliation
 Service (FMCS), the Office of Management and Budget (OMB), Keith E. Sonderling, in his
 official capacity as Acting Director of IMLS, Madiha D. Latif, in her official capacity as Deputy
 Under Secretary of Commerce for Minority Business Development, Howard Lutnick, in his official
 capacity as Secretary of Commerce, Gregory Goldstein, in his official capacity as Acting Director
 of FMCS, Russell T. Vought, in his official capacity as Director of the OMB, and Donald J. Trump,
 in his official capacity as President of the United States.
Case 1:25-cv-00128-JJM-AEM            Document 65         Filed 05/27/25    Page 4 of 33 PageID #:
                                             1539



 Defendants are wrong on both of these points, and in any event, fail to explain why these discrete

 complaints justify a stay of the preliminary injunction in its entirety.

        Second, defendants seek to introduce for the first time evidence from agency officials

 purporting to quantify the costs of compliance with the preliminary injunction. Among other things,

 defendants complain about the fiscal and management challenges of reinstating employees that they

 previously tried to fire. But defendants are not allowed to violate the law and then complain that

 the cost of undoing those violations constitutes irreparable harm.

        Finally, defendants do not meaningfully dispute the irreparable harms that plaintiffs had

 already experienced and would continue to experience absent injunctive relief. Accordingly,

 defendants’ motion should be denied.


                                          BACKGROUND

        In this action, plaintiffs challenge defendants’ actions to dismantle three federal agencies

 created by Congress, vested by Congress with enumerated responsibilities, and appropriated over

 $400 million in funds: the Institute of Museum and Library Services (IMLS), the Minority

 Business and Development Agency (MBDA), and the Federal Mediation and Conciliation Service

 (FMCS). See Mem. & Order at 6-7 (May 6, 2025), ECF No. 57. In March 2025, defendants gutted

 the programs, operations, and staff of these agencies within weeks of an executive order directing

 such action, without congressional approval or any reasoned explanation. See Exec. Order No.

 14,238, Continuing the Reduction of the Federal Bureaucracy, § 2(a) (Mar. 14, 2025), 90 Fed.

 Reg. 13043, 13043 (“Reduction EO”).

        In April 2025, plaintiffs filed this complaint and moved for a preliminary injunction to halt

 and reverse the dismantling of IMLS, MBDA, and FMCS. Request for Emergency TRO (Apr. 4,

 2025), ECF No. 3. The motion was supported by dozens of declarations explaining the steps

                                                   2
Case 1:25-cv-00128-JJM-AEM             Document 65        Filed 05/27/25      Page 5 of 33 PageID #:
                                              1540



 defendants have taken to dismantle the agencies and cataloguing the severe harms plaintiffs had

 already experienced and would continue to experience absent injunctive relief, including the

 ongoing or imminent loss of millions of dollars of critical funding, the termination of trusted

 mediation services critical to resolving public-sector labor disputes, and disruptions in state library

 services to vulnerable populations such as the elderly, veterans, and non-English speakers. See

 ECF No. 3 through 3-45; see also ECF Nos. 35 through 35-9, 39, 44 through 44-3, 45 through 45-

 6. Defendants submitted no evidence rebutting plaintiffs’ showing and did not contest the merits

 of several of plaintiffs’ claims. Instead, they raised a variety of arguments about jurisdiction and

 the scope of relief under the APA. See Defs.’ Opp’n to Pls.’ Mot. for Emergency TRO (Apr. 14,

 2025), ECF No. 41 (Defs.’ Opp’n).

         After briefing and oral argument, this Court concluded that plaintiffs were entitled to a

 preliminary injunction to prevent defendants from dismantling IMLS, MBDA, and FMCS. See

 Mem. & Order. The Court held that plaintiffs had standing (see id. at 11), that the claims were ripe

 for judicial review (id. at 12-14), and that the Court had jurisdiction over plaintiffs’ claims,

 including where those claims implicated grant disbursements (id. at 14-18) and mass reductions in

 force (id. at 18-21). On the merits, the Court concluded that defendants’ actions could be

 challenged under the APA (id. at 21-26), were likely arbitrary and capricious insofar as defendants

 provided no reasoned explanation (id. at 26-31), were likely contrary to law insofar as defendants

 acted contrary to the statutes governing the subject agencies and appropriations (id. at 31-39), and

 were likely unconstitutional (id. at 39-40). The Court also found that plaintiffs established

 irreparable harm (id. at 41-45) and that the balance of the equities and public interest weighed in

 favor of injunctive relief (id. at 46-47).




                                                   3
Case 1:25-cv-00128-JJM-AEM            Document 65        Filed 05/27/25      Page 6 of 33 PageID #:
                                             1541



         Seven days later, after incorporating all of defendants’ proposed revisions, the Court

 entered a preliminary injunction order directing defendants to, among other things, (i) “take all

 necessary steps to reverse any policies, memoranda, directives, or actions” previously taken to

 implement the Reduction EO with respect to these three agencies; (ii) restore employees and personal

 service contractors who were involuntarily placed on leave or terminated due to implementation of

 the Reduction EO; and (iii) resume processing, disbursement, and payment of funds to recipients

 in plaintiff States that were stalled or terminated in reliance on the Reduction EO. See Prelim. Inj.

 at 3-4 (May 13, 2025), ECF No. 60. Pursuant to language specifically requested by defendants, the

 preliminary injunction does not apply to “personnel decisions that are not related to or motivated

 by” the Reduction EO, and the order expressly permits defendants to “tak[e] actions that would

 improve Agency efficiency or reduce the size or scope of the Agenc[ies],” so long as they

 “provide[] a reasoned explanation for such action” and such “action will not prevent the Agenc[ies]

 . . . from fulfilling any of their statutory obligations.” Id. at 3. By its terms, the preliminary

 injunction also does not affect funding actions based on “non-compliances with applicable grant

 or contract terms.” Id. at 4.

         Defendants filed this motion for a stay pending appeal on the evening of May 19, 2025,

 and attached three declarations attesting to new information that was not presented to this Court

 during briefing on the preliminary injunction. See Mot. (May 19, 2025), ECF No. 63. The next

 morning, the Court ordered plaintiffs to respond by May 27 and defendants to reply by May 30.

 See Text Order (May 20, 2025).

         Defendants nevertheless moved for a stay pending appeal (and an immediate administrative

 stay pending resolution of the stay motion) in the First Circuit the following day, before this Court

 had an opportunity to resolve this motion. Defendants’ motion to the First Circuit challenges many


                                                  4
Case 1:25-cv-00128-JJM-AEM            Document 65        Filed 05/27/25      Page 7 of 33 PageID #:
                                             1542



 more aspects of this Court’s decision and preliminary injunction order than this motion does. 2 See

 Mot. for Stay Pending Appeal & Administrative Stay (May 21, 2025), Rhode Island v. Trump, No.

 25-1477, 1st Cir. ECF No. 00118288488.


                                            ARGUMENT

                 DEFENDANTS ARE NOT ENTITLED TO A STAY PENDING APPEAL

         Defendants are not entitled to a stay of the preliminary injunction order. In evaluating a

 motion to stay pending appeal, this Court must consider four factors: “(1) whether the stay

 applicant has made a strong showing that [it] is likely to succeed on the merits; (2) whether the

 applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will

 substantially injure the other parties interested in the proceeding; and (4) where the public interest

 lies.” Nken, 556 U.S. at 426. As explained below, each factor weighs heavily against defendants

 here.


    A. Defendants Have Not Made a Strong Showing That They Will Succeed on
       the Merits.

         Although defendants seek a stay of the preliminary injunction in its entirety, their six-page

 motion does not contest this Court’s conclusions respecting standing, ripeness, the scope of APA

 review, or the likelihood of success on the merits. Instead, defendants contend that the preliminary

 injunction should have (i) been limited to actions that are necessary to accomplish the agencies’




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           The First Circuit denied defendants’ request for an administrative stay and ordered that,
 to the extent this Court denies defendants’ motion, plaintiffs respond to defendants’ motion in the
 First Circuit within two days of this Court’s decision. Order of Court (May 27, 2025), Rhode Island
 v. Trump, No. 25-1477, 1st Cir. ECF No. 00118290703.
                                                   5
Case 1:25-cv-00128-JJM-AEM            Document 65         Filed 05/27/25      Page 8 of 33 PageID #:
                                             1543



 statutory mandates (Mot. at 2), and (ii) excluded relief pertaining to grant disbursements (id. at 4).

 Both arguments are wrong.


        1. Defendants’ Arguments About the Scope of the Preliminary Injunction
           Are Both Waived and Meritless.

        Defendants’ complaints about the purported breadth of the preliminary injunction ring

 hollow. The preliminary injunction order is tailored to undo defendants’ unlawful actions and to

 prevent defendants from unlawfully attempting to implement the Reduction EO and dismantle the

 agencies again during the pendency of this case. If defendants seek a narrower injunction, they had

 ample opportunity to propose such language to the Court. In fact, defendants proposed specific

 language that the Court adopted in the order verbatim—and that defendants now find too

 restrictive. Compare Ex. A at 3 (proposing language about “personnel decisions”), with Mot. at 3

 (criticizing order “in terms of personnel decisions”). For example, after defendants questioned

 whether “taking internal efforts to improve efficiency” would run afoul of the injunction (Defs.’

 Resp. to Pls.’ Proposed Order at 2 (May 9, 2025), ECF No. 59), the Court accepted defendants’

 proposed language carving out an exception for “actions that would improve Agency efficiency”

 (Prelim. Inj. ¶ 3). Yet defendants still claim that the provisions are “overbroad” (Mot. at 2), despite

 offering no alternative other than a stay of the preliminary injunction in its entirety. At this point,

 after having an opportunity to review the order and propose modifications to its language,

 defendants have waived any additional arguments about the language in the order.

        Compounding the problem, defendants’ assertions about operations at IMLS, MBDA, and

 FMCS rely on new information that was not presented to the Court during briefing on the

 preliminary injunction. See ECF Nos. 63-1, 63-2, 63-3. Introducing such evidence now—and not

 when the Court was deciding the injunction motion or soliciting the parties’ views on the scope of


                                                   6
Case 1:25-cv-00128-JJM-AEM            Document 65         Filed 05/27/25      Page 9 of 33 PageID #:
                                             1544



 the order—undermines the Court’s decision-making process. See United States v. Zenon, 711 F.2d

 476, 478 (1st Cir. 1983) (parties “must state their objections to the injunction to the district court,

 so that the district court can consider them and correct the injunction if necessary, without the need

 for appeal”). In any event, none of the belatedly proffered evidence demonstrates that the agencies

 were fulfilling (or were capable of fulfilling) their statutorily mandated functions when the

 injunction issued.

         Defendants’ arguments about the scope of the injunction also fail on the merits. Contrary

 to defendants’ assertions (Mot. at 2-4), nothing in the preliminary injunction stops them from taking

 lawful steps to manage the three agencies going forward. As to staffing, the order “does not

 preclude the [] Defendants from making personnel decisions that are not related to or motivated

 by” the Reduction EO (Prelim. Inj. ¶ 4)—language that defendants themselves proposed. See Ex.

 A at 3. The agencies retain ample discretion to make individualized employment decisions based

 on employee performance, for example, independent from the Reduction EO. The agencies may also

 “pause, cancel, or otherwise terminate” grants or contracts if grantees or contractors breach

 applicable terms. Prelim. Inj. ¶ 5. In the same vein, defendants may continue to implement

 directives aimed at improving the agencies’ efficiency, provided that the agencies proceed

 lawfully. For instance, defendants allege that the order forced IMLS to halt its move to a smaller

 office space, which would have saved the agency approximately $1.3 million per year. Mot. at 3.

 If that move would improve agency efficiency, as defendants contend (Decl. of Keith E.

 Sonderling ¶ 16 (May 19, 2025), ECF No. 63-1 (Sonderling Decl.)), then the agency may proceed

 under the Court’s order so long as it follows the substantive and procedural requirements set out

 therein. See Prelim. Inj. ¶ 3. The same basic guidelines apply to other contemplated agency

 initiatives.


                                                   7
Case 1:25-cv-00128-JJM-AEM            Document 65 Filed 05/27/25             Page 10 of 33 PageID #:
                                             1545



        If a specific agency action raises questions about defendants’ compliance with the order,

 defendants can meet and confer with plaintiffs, seek clarification from the Court, or both. Indeed,

 defendants recently conferred with plaintiffs to clarify the scope of the order as it pertains to grant

 reinstatements. Defs.’ Status Report ¶ 3 (May 20, 2025), ECF No. 64. A stay of the preliminary

 injunction is therefore unnecessary to address specific issues defendants may raise in

 implementing the order.

        On the whole, defendants’ objections to the scope of the preliminary injunction merely

 repackage their arguments against imposing any preliminary injunction. Defendants argue that the

 order unfairly connotes “a taint of illegality” to agency actions taken after March 14, 2025, when

 the Reduction EO went into effect. Mot. at 3. But plaintiffs made a strong showing—unchallenged

 here—that all of defendants’ actions implementing the Reduction EO after March 14 were illegal.

 See Mem. & Order at 2. The restrictions in the order correspond to defendants’ likely statutory

 and constitutional violations. While defendants object that the injunction goes beyond requiring

 them to fulfill “mandatory statutory functions” (Mot. at 2; see id. at 4), the Court found that

 defendants unlawfully terminated functions regardless of whether the functions were statutorily

 mandated or not. In either case, defendants failed to engage in reasoned decision making and

 eliminated functions in a way that rendered the agencies unable to expend their congressionally

 appropriated funds. Mem. & Order at 31, 35-39.

        In addition, limiting the injunction to “mandatory statutory functions” would make no

 sense because the Court concluded that “the Defendants have not shown that any analysis was

 conducted to determine which ‘components and functions’ of IMLS, MBDA, and FMCS are

 statutorily required, and which are not.” Id. at 27. Likewise, defendants’ repeated invocation of the

 executive branch’s “priorities” and “decision-making discretion” (Mot. at 2, 5) ignores the Court’s


                                                   8
Case 1:25-cv-00128-JJM-AEM            Document 65 Filed 05/27/25             Page 11 of 33 PageID #:
                                             1546



 fundamental finding that defendants’ actions contravened multiple statutory and constitutional

 provisions, including the agencies’ obligations to expend funds appropriated by Congress. See id.

 at 2.


         2. Defendants’ Arguments About This Court’s Jurisdiction Are Meritless.

         Next, repeating the same argument this Court previously rejected, defendants urge that the

 Supreme Court’s stay order in Department of Education v. California, 145 S. Ct. 966 (2025), strips

 this Court of jurisdiction over what defendants describe as “grant-based claims.” See Mot. at 4-5.

 For the reasons set forth in the Court’s decision, however, California “does not render [it] an

 improper forum for the States’ claims under the APA.” Mem. & Order at 14-15.

         As the Court recognized, California did not purport to disturb well-settled law channeling

 contract disputes to the Court of Federal Claims. Id. at 15-16. Before California and now, a claim

 falls within the Tucker Act’s exclusive jurisdiction if it “is at its essence a contract claim.” See

 Megapulse, Inc. v. Lewis, 672 F.2d 959, 967 (D.C. Cir. 1982); California v. U.S. Dep’t of Educ.,

 132 F.4th 92, 96-97 (1st Cir. 2025) (examining “the ‘essence’ of the claims”); Community Legal

 Servs. in E. Palo Alto v. U.S. Dep’t of Health & Hum. Servs., No. 25-cv-2847, 2025 WL 1168898,

 at *3 (N.D. Cal. Apr. 21, 2025) (“[T]he Government fails to identify anything different about the

 law following the Supreme Court’s order[.]”). The “longstanding test” for evaluating a claim’s

 essential character under the Tucker Act hinges on (i) “the source of the rights upon which the

 plaintiff bases its claims” and (ii) “the type of relief sought.” Crowley Gov’t Servs., Inc. v. General

 Servs. Admin., 38 F.4th 1099, 1106 (D.C. Cir. 2022) (quotation marks omitted).

         This is not a contract dispute. First, plaintiffs’ claims arise from alleged violations of the

 APA and the Constitution—not the terms of any contract. See Mem. & Order at 57, at 16 (“[T]he

 States’ challenges are grounded on whether the Defendants’ actions exceeded the bounds of their

                                                   9
Case 1:25-cv-00128-JJM-AEM            Document 65 Filed 05/27/25             Page 12 of 33 PageID #:
                                             1547



 statutory or constitutional authorities”). The rights on which plaintiffs base their claims “exist[ed]

 prior to and apart from rights created under” grant agreements or any other contract with the federal

 government. See Crowley, 38 F.4th at 1107 (quotation marks omitted); American Bar Ass’n v. U.S.

 Dep’t of Just., No. 25-cv-1263, 2025 WL 1388891, at *5 (D.D.C. May 14, 2025). And the grant

 terminations comprised only one facet of defendants’ demolition campaign at the three agencies.

 With respect to FMCS, plaintiffs’ harms did not stem from grant terminations at all but from the

 elimination of agency programs and the dismantling of key agency functions. See Decl. of

 Matthew Taibi (Apr. 3, 2025), ECF No. 3-32 (Taibi Decl.); Decl. of Jesse Martin (Apr. 4, 2025),

 ECF No. 3-45 (Martin Decl.). The harms from gutting MBDA manifested primarily in the agency’s

 inability to perform its statutory functions, service existing MBDA centers, and issue new grant

 solicitations. See ECF Nos. 3-10, 3-11, 3-41. The grant terminations that are cited as evidence of

 plaintiffs’ harms therefore do not transform this action into a contract dispute and thereby deprive

 the Court of jurisdiction it otherwise has. See Megapulse, 672 F.2d at 968; Crowley, 38 F.4th at

 117 (rejecting notion “that any case requiring some reference to or incorporation of a contract is

 necessarily . . . within the Tucker Act” (quotation marks omitted)).

        Significantly, “the terms and conditions of each individual grant award” are not “at issue”

 here. See California, 132 F.4th at 96-97. Indeed, defendants have expressly conceded that “[p]laintiffs

 do not challenge specific grant terminations [or] specific payments they claim to be entitled to.”

 Defs.’ Opp’n at 21. Though defendants emphasize that grants are disbursed pursuant to grant

 agreements (Mot. at 4), defendants did not terminate the grants pursuant to the terms of individual

 grant agreements. And “nowhere are the parties quibbling over whether the States subject to those

 grant terminations breached the terms or conditions of the underlying agreements.” Mem & Order

 at 16. By contrast, in California, the federal government expressly framed the dispute as whether


                                                   10
Case 1:25-cv-00128-JJM-AEM           Document 65 Filed 05/27/25             Page 13 of 33 PageID #:
                                            1548



 the agencies terminated grants “in violation of the grant instruments’ terms and conditions.” AIDS

 Vaccine Advoc. Coal. v. U.S. Dep’t of State, No. 25-cv-00400, 2025 WL 1380421, at *3 (D.D.C.

 May 13, 2025) (quoting Application to Vacate, California, No. 24A, 2025 WL 945313, at *14). 3

 The preliminary injunction order tracks this distinction. It does not enjoin defendants’ ability to

 terminate contracts based on a counterparty’s noncompliance with specific terms (Prelim Inj. ¶ 5),

 the type of ordinary contract dispute that falls within the Tucker Act’s ambit.

        Second, to remedy alleged statutory and constitutional violations, plaintiffs seek equitable

 relief—not money damages under the Tucker Act. Mem. & Order at 16-17. Plaintiffs do not seek

 “money in compensation for the damage sustained by the failure of the Federal Government to pay

 as mandated,” Bowen v. Massachusetts, 487 U.S. 879, 900 (1988)—damage that would greatly

 exceed the amount of terminated grant funding. Rather, plaintiffs seek to enforce statutory and

 constitutional mandates, which may result in the disbursement of money. Id.; see New York v.

 Trump, No. 25-cv-39, 2025 WL 1098966, at *2 (D.R.I. Apr. 14, 2025). As California reiterated,

 “a district court’s jurisdiction ‘is not barred by the possibility’ that an order setting aside an

 agency’s action may result in the disbursement of funds.” 145 S. Ct. at 968 (quoting Bowen, 487

 U.S. at 910).

        Moreover, the Tucker Act undisputedly cannot preclude jurisdiction over plaintiffs’

 constitutional claims, which defendants do not dispute for purposes of this stay application. See



        3
          Other than California itself, the only case defendants cite in support of their Tucker Act
 argument is a one-sentence order issued by the Fourth Circuit (Mot. at 5), which contains no
 analysis. See American Ass’n of Colls. for Tchr. Educ. v. McMahon, No. 25-1281, 2025 WL
 1232337, at *1 (4th Cir. Apr. 10, 2025). In contrast, a growing number of courts in this Circuit that
 have analyzed California have forcefully rejected the broad interpretation that defendants advance
 here. See, e.g., Association of Am. Univs. v. Department of Energy, No. 25-cv-10912, 2025 WL
 1414135, at *6 (D. Mass. May 15, 2025); Massachusetts v. Kennedy, No. 25-cv-10814, 2025 WL
 1371785, at *7-9 (D. Mass. May 12, 2025).
                                                  11
Case 1:25-cv-00128-JJM-AEM          Document 65 Filed 05/27/25             Page 14 of 33 PageID #:
                                           1549



 American Bar Ass’n, 2025 WL 1388891, at *6. The same goes for plaintiffs’ ultra vires claims

 against the individual defendants. So, a stay of the entire preliminary injunction is unwarranted in

 any event.


    B. Defendants Have Not Shown Irreparable Injury.

        Defendants fail to demonstrate that they are irreparably harmed by complying with the

 order. Having previously argued that “economic harm does not compromise [sic] ‘irreparable

 injury’ under First Circuit precedent” to oppose a preliminary injunction (Defs.’ Opp’n at 32),

 defendants now rely exclusively on economic harm to justify a stay of the preliminary injunction.

 See Mot. at 5-6. Defendants’ about-face is unavailing, however, because the alleged expenditures

 they identify do not warrant a stay. For example, defendants claim that the preliminary injunction

 prevents them from spending taxpayer money in accordance with Congress’s statutory mandate.

 Mot. at 5. But this Court found—and defendants’ motion does not dispute—that the agencies

 “flout[ed] their statutory mandates” and as a result of the actions challenged in this lawsuit were

 left unable to expend the funds that Congress appropriated to them. Mem & Order at 32, 36-37.

 As a result, defendants were “usurping Congress’s: (1) power of the purse, by disregarding

 congressional appropriations; and (2) vested legislative authority to create and abolish federal

 agencies.” Id. at 40. The preliminary injunction aimed to undo these unlawful actions. And

 defendants have “made no showing that dispersing congressionally appropriated funds for

 statutorily mandated purposes would cause irreparable harm in this case.” Community Legal Servs.

 in E. Palo Alto v. United States Dep’t of Health & Hum. Servs., No. 25-2808, 2025 WL 1393876,

 at *6 (9th Cir. May 14, 2025).

        Though defendants continue to speculate that “there may be no way to recover the funds”

 (Mot. at 5) if they ultimately prevail on appeal, that argument lacks support. Defendants’

                                                 12
Case 1:25-cv-00128-JJM-AEM           Document 65 Filed 05/27/25              Page 15 of 33 PageID #:
                                            1550



 declarations offer conclusory statements that grant funds “cannot be recovered” (Sonderling Decl.

 ¶ 18), but they elsewhere contradict that assertion by stating that grant payments ultimately found

 to be unwarranted “constitute a debt to the federal government” that may be recovered through

 “debt collection procedures.” See Decl. of Kelly Mitchell ¶ 12 (May 19, 2025), ECF No. 63-2.

 Regardless, defendants’ claim that making grant payments as required by law constitutes

 irreparable harm is the same “dubious” argument already rejected by this Court (Mem. & Order at

 48), and the First Circuit, New York v. Trump, 133 F.4th 51, 72 (1st Cir. 2025). Indeed, the en banc

 D.C. Circuit recently issued a stay of an earlier panel decision that had credited the same argument

 defendants make here. See Middle E. Broad. Networks, Inc. v. Lake, No. 25-5150, 2025 WL

 1378735, at *1 (D.C. Cir. May 7, 2025); see also Department of State v. AIDS Vaccine Advoc.

 Coal., 145 S. Ct. 753, 757 (2025) (Alito, J., dissenting) (denying stay over similar objection by

 government); California, 145 S. Ct. at 974 (noting that “the Government has various legal

 mechanisms to recoup these kinds of funds”) (Jackson, J., dissenting).

        The “harm” that defendants now allege amounts to nothing more than the costs of undoing

 their own unlawful actions. This Court has ruled that defendants’ actions likely flouted statutory

 and constitutional mandates—rulings uncontested on this motion—and caused irreparable harm to

 plaintiff States. Mem. & Order at 2, 45. The costs to undo defendants’ unlawful actions cannot

 outweigh the irreparable harm that would result from continuing the unlawful actions. The

 injunction thus properly restored the parties to the status quo before those unlawful actions

 occurred. See Braintree Lab’ys, Inc. v. Citigroup Glob. Mkts. Inc., 622 F.3d 36, 41 n.5 (1st Cir.

 2010) (determining status quo by “the last uncontested status which preceded the pending

 controversy” (quotation marks omitted)). Given the “strong likelihood” that plaintiffs will ultimately

 prevail on their claims (Mem & Order at 31), “the cost of that restoration is proportionate to the


                                                  13
Case 1:25-cv-00128-JJM-AEM            Document 65 Filed 05/27/25               Page 16 of 33 PageID #:
                                             1551



 dislocation the government chose to undertake.” 4 Widakuswara v. Lake, No. 25-5144, 2025 WL

 1288817, at *15 (D.C. Cir. May 3, 2025) (Pillard, J., dissenting), stay granted in part sub nom.,

 2025 WL 1378735, at *1 (D.C. Cir. May 7, 2025). As a result, the government cannot “be heard

 to complain about damage inflicted by its own hand.” Pennsylvania v. New Jersey, 426 U.S. 660,

 664 (1976).

         By contrast, the damage that defendants’ actions inflicted on plaintiffs was severe,

 widespread, and unrebutted. Plaintiffs’ preliminary injunction motion was supported by hundreds

 of pages of declarations detailing defendants’ efforts to incapacitate the agencies and the

 consequent harms plaintiffs experienced and would continue to experience absent injunctive relief.

 See ECF Nos. 3-1 through 3-45, ECF No. 35. Defendants submitted no evidence to rebut plaintiffs’

 showing. As the Court summed up:

             [T]he implementation of the Reduction EO at IMLS, MBDA, and FMCS
             has disrupted numerous critical state library and museum services and
             programs, impeded the resolution of time-sensitive labor disputes involving
             State entities, and curtailed broad-ranging training, consultation, and technical
             assistance services and programs that facilitate the growth of minority
             business enterprises.

 Mem & Order at 45. On this motion, defendants offer only the conclusory statement that plaintiffs’

 harms “are neither certain nor irreparable” (Mot. at 5), not grappling with the extensive evidence

 demonstrating otherwise.5 The one-sided record of irreparable harm reinforces why a stay of the

 preliminary injunction is not warranted.


         4
          The amounts of time, money, and resources allegedly needed to reverse course on the
 agencies’ actions dispel the notion that the actions were “‘preliminary’ in nature” and thus immune
 from judicial review. Defs.’ Opp’n at 23.
         5
           Defendants also assert that at least three grants were voluntarily restored to plaintiff States
 before the preliminary injunction order was entered. Sonderling Decl. ¶ 9. But defendants do not
 articulate why these piecemeal actions should justify a stay of the preliminary injunction in its
 entirety. To the extent defendants are implying that part of the order has been mooted, “a
                                                                                (continued on the next page)
                                                    14
Case 1:25-cv-00128-JJM-AEM            Document 65 Filed 05/27/25              Page 17 of 33 PageID #:
                                             1552



    C. The Remaining Factors Weigh Against a Stay.

        Lastly, defendants fail to show that the public interest or balance of the equities favor a stay.

 As this Court correctly observed, “there is ‘generally no public interest in the perpetuation of

 unlawful agency action.’” Mem. & Order at 46 (quoting League of Women Voters v. Newby, 838

 F.3d 1, 12 (D.C. Cir. 2016)). The public interest is particularly disserved by a stay here because

 defendants seek to resume unlawful actions they do not defend on the merits. And though

 defendants purport to protect taxpayer funds (Mot. at 5), any costs borne by taxpayers as a result

 of the injunction stems from defendants’ own statutory and constitutional violations. See Mem. &

 Order at 46. And to the extent the preliminary injunction means the agencies will expend

 congressionally appropriated funds, that is not an injury but a constitutional and statutory

 requirement, as this Court held.

        On top of that, staying the injunction would “substantially injure the other parties interested

 in the proceeding.” Nken, 556 U.S. at 426. Plaintiff States rely on receiving direct funds and critical

 services from IMLS, MBDA, and FMCS. See Mem. & Order at 29-30. In Rhode Island, FMCS

 ensures labor peace in the healthcare industry (Taibi Decl. ¶ 10), and plaintiffs explained in their

 preliminary injunction motion that labor negotiations with Butler Hospital were “extremely likely

 to lead toward a strike without the benefit of FMCS mediation” (Martin Decl. ¶ 14). That strike is

 now in full effect, illustrating the real-world consequences of unlawful agency action. The stay that




 defendant’s voluntary cessation of putatively illegal or unconstitutional conduct will not moot a
 case, unless the defendant meets the formidable burden of showing that it is absolutely clear the
 allegedly wrongful behavior could not reasonably be expected to recur.” In re Fin. Oversight &
 Mgmt. Bd., 16 F.4th 954, 961-62 (1st Cir. 2021) (quotation marks omitted). Defendants do not come
 close to meeting that burden here.
                                                   15
Case 1:25-cv-00128-JJM-AEM          Document 65 Filed 05/27/25             Page 18 of 33 PageID #:
                                           1553



 defendants now seek would perpetuate the “plethora of injuries” to plaintiff States that the

 injunction sought to forestall. Mem. & Order at 46.


                                           CONCLUSION

          The Court should deny a stay pending appeal.

 Dated:      New York, New York
             May 27, 2025

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                                                16
Case 1:25-cv-00128-JJM-AEM            Document 65 Filed 05/27/25        Page 19 of 33 PageID #:
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                                               23
Case 1:25-cv-00128-JJM-AEM   Document 65 Filed 05/27/25   Page 23 of 33 PageID #:
                                    1558




          EXHIBIT A
Case 1:25-cv-00128-JJM-AEM         Document 65 Filed 05/27/25            Page 24 of 33 PageID #:
                                          1559




  From: Gonzalez, Heidy (CIV) <Heidy.Gonzalez@usdoj.gov>
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  Subject: RE: RI v. Trump 25-128

  [External email: Use caution with links and attachments]
  Good morning, Judge McConnell,

  Thank you for affording Defendants the opportunity to weigh in. Attached please find edits in red
  line for your consideration.

  Best,

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                                           1561

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  Thank you. I have accepted all the red-lined changes. If the Defendants want the Court to
  consider any changes in the form of order (as attached), kindly send a red-lined before the close
  of business today.

  Thanks all.

                       John J. McConnell, Jr. | Chief Judge | he/him
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   CAUTION - EXTERNAL:



  Good evening, Judge McConnell,

  Attached are redlines from the plaintiff States. Please let us know if you have any
  questions or need anything further.

  Best,
  Natasha
Case 1:25-cv-00128-JJM-AEM           Document 65 Filed 05/27/25               Page 27 of 33 PageID #:
                                            1562


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  Subject: RI v. Trump 25-128

  [External email: Use caution with links and attachments]
  Counsel – I have drafted a proposed preliminary injunction order – attached. I have tried to take
  all parties’ comments and perspectives into consideration in drafting this Order to effectuate
  the Court’s prior Memorandum and Order.

  Instead of a chambers’ conference tomorrow, the parties should simply send me a red-line of
  this proposed Order, and after considering the submissions, I will enter a Final Preliminary
  Injunction Order.

  Thanks all.




                       John J. McConnell, Jr. | Chief Judge | he/him
                       U.S. District Court for the District of Rhode Island
                       One Exchange Terrace
                       Providence, RI 02903
Case 1:25-cv-00128-JJM-AEM         Document 65 Filed 05/27/25           Page 28 of 33 PageID #:
                                          1563




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 Case 1:25-cv-00128-JJM-AEM                  Document 65 Filed 05/27/25        Page 29 of 33 PageID #:
                                                    1564




                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF RHODE ISLAND

STATE OF RHODE ISLAND; STATE             )
OF NEW YORK; STATE OF HAWAII;           )
STATE OF ARIZONA; STATE OF               )
CALIFORNIA; STATE OF                     )
COLORADO; STATE OF                       )
CONNECTICUT; STATE OF                    )
DELAWARE; STATE OF ILLINOIS;             )
STATE OF MAINE; STATE OF                 )
MARYLAND; COMMONWEALTH OF                )
MASSACHUSETTS; PEOPLE OF                 )
THE STATE OF MICHIGAN; STATE             )
OF MINNESOTA; STATE OF                   )
NEVADA; STATE OF NEW JERSEY;             )
                                         )
STATE OF NEW MEXICO; STATE OF
                                         )
OREGON; STATE OF VERMONT;
                                         )
STATE OF WASHINGTON; STATE               )
OF WISCONSIN;                            )
                                         )
       Plaintiffs,                       )
                                         )
       v.                                )    C.A. No. 1:25-cv-00128-JJM-LDA
                                         )
DONALD J. TRUMP, in his official         )
capacity as President of the United      )
States; INSTITUTE OF MUSEUM              )
AND LIBRARY SERVICES; KEITH E.           )
                                         )
SONDERLING, in his official capacity
                                         )
as Acting Director of the Institute of
                                         )
Museum and Library Services;             )
MINORITY BUSINESS AND                    )
DEVELOPMENT AGENCY; MADIHA               )
D. LATIF, in her official capacity as    )
Deputy Under Secretary of Commerce       )
for Minority Business Development;       )
HOWARD LUTNICK, in his official          )
capacity as Secretary of Commerce;       )
FEDERAL MEDIATION AND                    )
CONCILIATION SERVICE;                    )
GREGORY GOLDSTEIN, in his official       )
                                         )
capacity as Acting Director of the
                                         )
Federal Mediation and Conciliation
                                         )
 Case 1:25-cv-00128-JJM-AEM                   Document 65 Filed 05/27/25                 Page 30 of 33 PageID #:
                                                     1565




Service; OFFICE OF MANAGEMENT             )
AND BUDGET; RUSSELL T.                    )
VOUGHT, in his official capacity as       )
Director of the Office of Management      )
and Budget;                               )
                                          )
                                          )
       Defendants.
                                          )
                                          )



                          PRELIMINARY INJUNCTION

      For the reasons contained in this Courts Memorandum and Order (ECF

No. 57), it is hereby ORDERED that a PRELIMINARY INJUNCTION is entered.

Agency Defendants, their officers, agents, employees, and attorneys, and any other

persons who are in active concert or participation with Defendants or their officers,

agents, employees, or attorneys,1 are hereby ordered as follows:

      1. The Defendants Institute of Museum and Library Services (IMLS), Keith

         E. Sonderling, Minority Business and Development Agency (MBDA),

         Madiha D. Latif, Howard Lutnick, Federal Mediation and Conciliation

         Service (FMCS); Gregory Goldstein, Office of Management and Budget,

         Russell T. Vought (collectively Agency Defendants)2 are enjoined from

         implementing Section 2 of the Executive Order 14238, Continuing the

         Reduction of the Federal Bureaucracy as to IMLS, MBDA, and FMCS.




       1 This Order binds Defendants' officers, agents, employees, attorneys, and

other persons who are in active concert or participation with anyone described in Rule
65(d)(2)(A) or (B). Fed. R. Civ. P. 65(d)(2).
       2 Individual defendants are enjoined in their official capacities only.



                                          2
Case 1:25-cv-00128-JJM-AEM                 Document 65 Filed 05/27/25                  Page 31 of 33 PageID #:
                                                  1566




   2. The Agency Defendants must promptly take all necessary steps to reverse

      any policies, memoranda, directives, or actions issued before this Order that

      were designed or intended, in whole or in part, to implement, give effect to,

      comply with, or carry out the directives contained in Executive Order 14238

      with respect to IMLS, MBDA, or FMCS.

   3. The Agency Defendants shall not take any further actions to eliminate

      IMLS, MBDA, and FMCS or its operations pursuant to Executive Order                Commented [A1]: The thought behind this suggestion is
                                                                                        to avoid the Order covering a situation where an Agency
                                                                                        Defendant takes steps to streamline operations or improve
      14238 or any similar order, policy, or directive.. Nothing in this Order shall    efficiencies independent of the EO that could be construed
                                                                                        as eliminating part of its operations.

      be construed to preclude the Agency Defendants from taking actions that

      would improve Agency efficiency or reduce the size or scope of the Agency

      Defendants as long as (a) the Agency Defendant provides a reasoned

      explanation for such action, and (b) the action will not prevent the Agency

      Defendant from fulfilling any of their statutory obligations.

   4. The Agency Defendants shall take all necessary steps to restore all IMLS,

      MBDA, and FMCS employees and personal service contractors, who were

      involuntarily placed on leave or involuntarily terminated due to the

      implementation of Executive Order 14238, to their status before March 14,

      2025. Nothing in this Order precludes the Agency Defendants from making

      personnel decisions that are not related to or motivated by Executive Order

      14238.

   5. The Agency Defendants shall not further pause, cancel, or otherwise

      terminate IMLS or MBDA grants or contracts or fail to disburse funds to




                                       3
 Case 1:25-cv-00128-JJM-AEM                    Document 65 Filed 05/27/25                Page 32 of 33 PageID #:
                                                      1567




         recipients in plaintiff States according to such grants or contracts for

         reasons other than the grantees or contractors non-compliances with

         applicable grant or contract terms.

      6. The Agency Defendants shall take immediate steps to resume the

         processing, disbursement, and payment of already-awarded funding, and to

         release awarded funds previously withheld or rendered inaccessible due to

         or in reliance on Section 2 of the Executive Order 14238, Continuing the

         Reduction of the Federal Bureaucracy with respect to recipients in plaintiff

         States.

      7. The Agency Defendants shall, within 7 days of the date of this Order, file

         with the Court a status report that confirms Defendants full compliance

         with this Order, or to the extent that full compliance was not practicable in

         that 7 day period, why full compliance is not practicable, and that details

         the actions Defendants have taken to comply with the Order.



IT IS SO ORDERED.



_________________________________
John J. McConnell, Jr.
Chief Judge
United States District Court


May 13, 2025




                                         4
Case 1:25-cv-00128-JJM-AEM           Document 65 Filed 05/27/25             Page 33 of 33 PageID #:
                                            1568



                                  CERTIFICATE OF SERVICE
 I, the undersigned, hereby certify that I filed the within via the ECF filing system and that
 a copy is available for viewing and downloading. I have also caused a copy to be sent via the
 ECF System to counsel of record on this 27th day of May, 2025.


                                                           /s/ Paul T.J. Meosky
